Case 2:16-cv-01378-CAS-GJS Document 47 Filed 05/17/16 Page 1 of 2 Page ID #:676




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    8                       UNITED STATES DISTRICT COURT
    9                     CENTRAL DISTRICT OF CALIFORNIA
  10 GORDON AND MARY FELLER, and                  Case No. 16-cv-01378 CAS (AJWx)
  11 GEORGE AND MARGARET                          CLASS ACTION
     ZACHARIA, on behalf of themselves
  12 and all others similarly situated,
                                                  [PROPOSED] ORDER GRANTING
  13                                              PLAINTIFFS’ EX PARTE
                  Plaintiffs,                     APPLICATION FOR EXPEDITED
  14
                                                  DISCOVERY
  15          vs.
  16 TRANSAMERICA LIFE INSURANCE
  17 COMPANY,                                     Courtroom: 5 – 2nd Floor
             Defendant.                           Judge:     Hon. Christina A. Snyder
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  20          After considering Plaintiffs Gordon and Mary Feller and George and
  21    Margaret Zacharia’s (“Plaintiffs”) Ex Parte Application for Expedited Discovery
  22    and Memorandum of Points and Authorities in support thereof, the Application is
  23    hereby GRANTED and it is ORDERED that Defendant Transamerica Life
  24    Insurance Company respond to Plaintiffs’ First Set of Requests for Productions of
  25    ///
  26    ///
  27    ///
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Case 2:16-cv-01378-CAS-GJS Document 47 Filed 05/17/16 Page 2 of 2 Page ID #:677




    1   Documents within 14 days of this Order; provided however, that discovery shall be
    2   limited to the period commencing in 2006 (not 1987).
    3   Dated: May 17, 2016
    4
                                       Honorable Christina A. Snyder
    5                                  United State District Judge
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